
This matter came before the Court on the Joint Petition for Indefinite Suspension with a Right to Seek Reinstatement After Ninety (90) Days filed by the Attorney Grievance Commission of Maryland and the Respondent, Laurence Fleming Johnson, pursuant to Maryland Rule 19-736, in which the Respondent admits that he violated Rules 1.1, 1.3, 1.15(a) &amp; (c), and 5.3(b) of the Maryland Lawyers' Rules of Professional Conduct, as then enacted. The Court, having considered the Petition, it is this 28th day of July, 2017, *496**716ORDERED, that Respondent, Laurence Fleming Johnson, be and he hereby is indefinitely suspended from the practice of law in the State of Maryland, effective fifteen (15) days from the date of this Order, with the right to seek reinstatement after ninety (90) days; and it is further
ORDERED, that, the Clerk of the Court shall remove the name Laurence Fleming Johnson from the register of attorneys in this Court, notify the Respondent in accordance with Maryland Rule 19-742 (a)(1), and comply with Maryland Rule 19-761.
